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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION


 In the Matter of the Petition

                of
                                                 Civil Action No. 1:24-cv-00941
 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                          IN ADMIRALITY

                and

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,
 for Exoneration from or Limitation of
 Liability.


                          MOTION FOR ADMISSION PRO HAC VICE
       I, Sara Gross, am a member in good standing of the bar of this Court. I am moving the
admission of Adam J. Levitt to appear pro hac vice in this case as counsel for the Mayor and City
Council of Baltimore.

       We certify that:

       1.      The proposed admittee is not a member of the Maryland bar and does not maintain
any law office in Maryland.

       2.      The proposed admittee is a member in good standing of the bars of the following
State Courts and/or United States Courts: Please see attached Appendix.

       3.      During the twelve months immediately preceding this motion, the proposed
admittee has been admitted pro hac vice in this Court 1 time.

        4.      The proposed admittee has never been disbarred, suspended, or denied admission
to practice law in any jurisdiction.

        5.      The proposed admittee is familiar with the Maryland Attorneys’ Rules of
Professional Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
Federal Rules of Appellate Procedure, and the Local Rules of this Court, and understands he/she
shall be subject to the disciplinary jurisdiction of this Court.

       6.      The proposed admittee understands admission pro hac vice is for this case only and
does not constitute formal admission to the bar of this Court.
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        7.      Either the undersigned movant or co-counsel Ebony M. Thompson (Bar No.
18968), is also a member of the bar of this Court in good standing, and will serve as co-counsel in
these proceedings.

       8.        The $100.00 fee for admission pro hac vice accompanies this motion.

       9.        We hereby certify under penalties of perjury that the foregoing statements are true
and correct.


MOVANT:                                               PROPOSED ADMITTEE:

/s/ Sara Gross                                                       /s/
Signature                                             Signature (signed by Sara Gross, with
                                                      permission of Adam J. Levitt)

Sara Gross (Bar No. 27704)                            Adam J. Levitt
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